Case 1

 

 

07-cv-02433-CBA-RER Document 94-20 Filed 04/28/11 Page 1 of 1 PagelD #: 1096

STATE OF NEW YORK _ )
COUNTY OF. NASSAU ms
MAUREEN SAUTER, being duly sworn, deposes and says:
That she is over the age of 21 years, resides at Massapequa, New York and is not a party to
this action.
That on the 3 day of March, 2011 she served the within Notice of Motion for Summary,
Judgment upon the parties listed below, by depositing a true copy thereof in a properly sealed
wrapper in a depository maintained by Federal Express located on the premises at Garden City
Center, 100 Quentin Roosevelt Boulevard, Garden City, New York 11530, addressed as follows:
COSTELLO & COSTELLO, P.C.
Salvatore D. Compoccia, Esq.
5919 20th Avenue
Brooklyn, NY. 11204

that being the address designated on the latest papers served by them in this action.

Sworn to before me this
34 day of March, 2011.

Notary Public

 

     
 

NOTARY PUE lic

9.
Qualified in Na:
Term Expires Dece

  

 
